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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


In re:                                      Case No: 6:13-bk-15569-ABB
ROBERT BRADFORD,
       Debtor.
                                    /

                          MOTION TO RE-OPEN CHAPTER 7


       COMES NOW, the Debtor by and through his undersigned attorney, and files this

Motion to Re-open Chapter 7 Bankruptcy case and in support thereof, states:



       1.     That this Court entered an Order Closing the Chapter 7 Case, without a

              discharge, due to the non-filing of the Personal Financial Management

              Course.

       2.     The Debtor is a long distance truck driver, who is on the road for long

              periods of time, and whom was unable to take the course online while on

              the road.

       3.     The Debtor has taken the Personal Financial Management Course and

              requests to re-open his Chapter 7 case to allow the filing of the Financial

              Management Course Certificate and receipt of a discharge.



              WHEREFORE, Debtor prays that this Honorable Court enter an Order re-

       opening his Chapter 7 Bankruptcy Case to allow the filing of his Personal

       Financial Management Course Certificate.
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above foregoing was sent on the 26th day of

June, 2015 by electronic transmission to ECF users or by U.S. Mail to: Dennis D. Kenney,

trustee@ddkennedy.com; Debtor.



                                  /s/ James F. Feuerstein
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